  Case: 1:20-cv-00041-RLW             Doc. #: 1 Filed: 02/20/20 Page: 1 of 6 PageID #: 1
RECEIVED
                               UNfTED STA TES DISTRICT COURT FOR
  FEB 2 0 2020
                               TH E EASTERN DISTRICT OF MISSOURI
  BY MAIL                                                     DIVISION


                                                         )
                                                         )          Complaint for a Civil Case
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                                                         )
                                                         )
   (Write the full name of each plaintiff                            Case No.
                                                         )
   who is filing this complaint. If the                              (to be assigned by Clerk of
                                                         )
   names of all the plaintiffs cannot fit in                         District Court)
                                                         )
   the space above, please write "see
                                                         )
   attached" in the space and attach an
                                                         )
   additional page with the full list of                                 Plaintiff requests trial by jury:
                                                         )
   names.)                                                               fZjYes       0No
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                                                         )
     So.rt Fr-~V1.C. i'5CO; C... R ,qi./()80             )
                                                         )
  (Write th e full name of each defendant.
                                                         )
  The caption must include th e names of
                                                         )
  all of th e parties. Fed. R. Civ. P. lO(a).
                                                         )
  Merely listing one party and writing "et
                                                         )
  al." is insufficient. Attach additional
                                                         )
  sheets if necessary.)



                                        CIVIL COMPLAINT

                                                 NOTICE:

   Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
  public access to electronic court files . Under this rule, papers filed with the court should not
  contain: an individual's full social security number or full birth date, the full name of a person
  known to be a minor,· or a complete financial account number. A filing may include only : the last
  four digits of a social security number, the y ear of an individual 's birth, a minor 's initials, and the
  last four digits of a financial account number.

  Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness
  statements, or any other materials to the Clerk's Office with this complaint.

  In order for your complaint to be filed, it must be accompanied by the $400.00 filing f ee or an
  application to proceed without prep aying f ees or costs.
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I.    The Parties to This Complaint

      A.     The Plaintiff(s)

      Provide the information below for each plaintiff named in the complaint. Attach
      additional pages if needed.

             Name
             Street Address
             City and County
             State and Zip Code
             Telephone Number
             E-mail Address




      B.     The Defendant(s)

     Provide the information below for each defendant named in the complaint, whether the
     defendant is an individual, a government agency, an organization, or a corporation. For
     an individual defendant, include the person's job or title (if known). Attach additional
     pages if needed.



     Defendant No . 1

             Name                   G~n..en f--ech - &o ch -e. Phaemac -euJ,~a~J -i.nc.,
            Job or Title             p h 0.f t11 QC..£ l( t,·CD, f £, ti C.
            Street Address           j) W11 WB'j :ZS~ B SogJ-k
            City and County          5an f ca.nc. tsco &si'l
            State and Zip Code
            Telephone Number       {6so) ;)..'J-S-'f/230
            E-mail Address


            (If more than one defendant is named in the complaint, attach an additional
            page providing the same information for each additional defendant. If you are
            suing for violation of your civil rights, you must state whether you are suing
            each defendant in an official capacity, individual capacity, or both.)




                                            2
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IL    Basis for Jurisdiction
      Federal courts are courts of limited jurisdiction (limited power). Generally, only three
      types of cases can be heard in federal court. Provide the information for this case.
      (Include all information that applies to your case)


      A.     Federal question
      List the specific federal statutes, federal treaties, and/or provisions of the United States
      Constitution that are at issue in this case. G . , l
                                                       , 1   c1f R, s h\-s




     B.      Suit against the Federal Government, a federal official, or federal agency
     List the federal officials or federal agencies involved, if any.




     C.      Diversity of Citizenship
     These are cases in which a citizen of one State sues a citizen of another State or nation,
     and the amount at stake is more than $75,000. In a diversity of citizenship case, no
     defendant may be a citizen of the same State as any plaintiff.


             1.     The Plaintiff(s)


                    The plaintiff, ( name) /YI ar"f/ t.. (,J     h i t.L        , is a citizen of the
                    State of (name) iVl { S SQ V: y- •


                    (If more than one plaintiff is named in the complaint, attach an additional
                    page providing th e same information for each additional plaintiff.)




                                                3
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            2.       The Defendant(s)

            If the defendant is an individual


                       The defe ndant, (name)                                                                        , is a citizen

                       of the State of (name)                                                                     Or is a citizen
                                                      - - - - - - -- - - - - --
                       of (foreign nation)
                                                - -- - - - - - - - - -- - - - - - - -

           If the defendant is a corporation

                     The defendant, ( name) G.<?..tl-€ t1               kh - R., o c.. b,-e...
                     is incorporated under the laws of the State of ( name)

                     ....tn..c.i_1_'S
                                    --=S'--'o""--"u~v-__._1'_ _ _ _ _ _ __        __ ,       and has its principal place of

                     business in the State of (name)                 Ca, { ,' fo rn; a,                                              Or

                     is incorporated under the laws of the State of (foreign nation)

                       M ,' S S ~ U-f      ,·                                                 ,   and has its principal place


                     of business in (name)              Ca.. l ; {,:<:Ai"         n,     ~


                     (If more than one defendant is named in the complaint~ attach an
                     additional page providing the same information for each additional
                     defendant.)

           3.       The Amount in Controversy

           The amount in controversy----the amount the plaintiff(s) claims the defendant(s)
           owes or the amount at stake----is more than $75,000, not counting interest and
           costs of court, because (explain):
                                                        :).. m,; I l •· c, ,.._    ; "       c... c:. \. u.J. d. o..-w-- .5--<   5

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III.             Statement of Claim

Type, or neatly print, a short and plain statement of the FACTS that support your claim(s). For
every defendant you have named in this complaint, you must stale what he or she personally did
to harm you. If more than one claim is asserted, number each claim and write a short and plain
sta tement of each claim in a separate paragraph. Do not make legal arguments, or cite court
cases or statutes. You may attach additional pages if necessary.

Your statement of claim must include all of the following information:
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                                         w u. s- w"' wa.. ,.~ .c.."" C> ,-
                 l.         What happened to you? S c o. ... ; "- _5        '? .J-k.. Jl.. 1 l"- i ' y.,..._ b c.J-'i l'f'I..L,. ~ c::- 1 a.>< _s...c. ..- ,' S..l..
             2.             When did it happen? ~ o I 2
                            Where did it happen?     Wl Y h c r»-'- -r l)Jt., 0 ~~ ct C!...o->-_c
             3.                                                                                    h'          la o~ !f - 111 ~ "' 1~ 1Q~s~ : ~ ·
             4.             What injuries did you suffer? ..S c,o.....- • M c,-f- JrL.. .a. -<- n-       V"-<

             5.             What did each defendant personally do, or fail to do, to harm you?
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IV.         Relief

            State briefly and precisely what damages or other relief you want from the Court. Do
            not make legal arguments. ,,.,
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         Do you claim the wrongs alleged in your complaint are continuing to occur now?

                                                            Yes   D       No      ~
                 Do you claim actual damages for the acts alleged in your complaint? .

                                                            Yes~ No               D
                                      Do you claim punitive monetary damages?

                                                            Yes~ No              D
 If you indicated that you claim actual damages or punitive monetary damages, state the
 amounts claimed and the reasons you claim you are entitled to recover these damages.
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V.    Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and belief that this complaint: (1) is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4) the
      complaint otherwise complies with the requirements of Rule 11.

     I agree to provide the Clerk's Office with any changes to my address where case-related
     papers may be served. I understand that my failure to keep a current address on file with
     the Clerk's Office may result in the dismissal of my case.




      I declare under penalty of perjury that the foregoing is true and correct.




                                       Signed this            I .6      day of        F.,,,L bu             r ~ Y       j             , 20 ~a .




                                       Signatuce o f Plaintiff(s)         ~


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